                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTEDIVISION
                              NO. 3:06-CR-151-12-FDW

 UNITED STATES OF AMERICA,                    )
                                              )
               Plaintiff,                     )
                                              )                    ORDER
    v.                                        )
                                              )
 ANDREAS ROMAN LEIMER (12),                   )
                                              )
               Defendant.                     )
                                              )

         UPON MOTION OF THE UNITED STATES OF AMERICA, the COURT grants leave

to the United States to move to dismiss and hereby ORDERS the dismissal without prejudice of

the Bill of Indictment in the instant case as to Defendant ANDREAS ROMAN LEIMER.

         IT IS SO ORDERED.
                                        Signed: October 24, 2016




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